
PER CURIAM.
Respondent, an agency of the State of Florida subject to the Administrative Procedure Act, issued a final order but refuses to properly render it by filing it with the clerk. See § 120.52(7), Fla. Stat. (2009); Bank of Port St. Joe v. State, Dep’t of Banking and Fin., 362 So.2d 96 (Fla. 1st DCA 1978). The petitioners’ appeal from that order was previously dismissed because the order had not been rendered. Students for Online Voting v. Student Gov’t of the Student Body of the Univ. of Fla., 10 So.3d 709 (Fla. 1st DCA 2009). Having considered the petition for writ of mandamus and the response thereto, we find that petitioners are entitled to relief. See Tucker v. Ruvin, 748 So.2d 376 (Fla. 3d DCA 2000). Respondent argues in op*1274position to the petition that the petitioners lacked standing to obtain relief from the agency and that the individual who issued the order did not have authority to grant the relief sought. These are issues to be resolved in the appeal and do not justify respondent’s failure to perform its statutory duty to render the order. We therefore grant the petition and direct respondent to properly render the final order of February 22, 2008, by filing it with the agency clerk. The respondent shall also provide copies of that order to the petitioners, with indication of the date of filing, within 10 days of issuance of our mandate in this cause.
PETITION GRANTED.
BARFIELD, WOLF, and LEWIS, JJ., concur.
